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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 SEBASTIAN GORKA,

                              Plaintiff,
                                                    Case No.: 1:22-cv-00017
 v.

 BENNIE G. THOMPSON, in his
 official capacity as Chairman of the
 House Select Committee to
 Investigate the January 6 Attack on
 the United States Capitol, et. al.,


                           Defendants.


                       DECLARATION OF MICHAEL A. COLUMBO

I, MICHAEL A. COLUMBO, declare as follows:

       1.      I am a senior counsel at the law firm Dhillon Law Group Inc. (“DLG”), counsel

of record for Dr. Sebastian Gorka (“Dr. Gorka”). I am a member in good standing of the

State Bar of California and the District of Columbia Bar. I have personal knowledge of the facts

set forth in this Declaration and could and would testify competently to such facts under oath.

       2.      On January 4, 2022, Dr. Gorka commenced this action by filing his Complaint

herein. ECF No. 1.

       3.      Exhibit C to the Complaint is a letter from Verizon Security Subpoena

Compliance to Dr. Gorka, dated December 17, 2021 (“Exhibit C”). ECF No. 1-4.

       4.      Exhibit C contains a phone number purportedly associated with Dr. Gorka.

       5.      Exhibit C was inadvertently publicly filed in unredacted form.




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       6.      If Exhibit C remains publicly filed in unredacted form, there is a significant

probability that Dr. Gorka will be harassed or otherwise bothered.

       7.      On January 6, 2022, my associate contacted the clerk’s office for the U.S. District

Court for the District of Columbia to inform the clerk’s office of this error. As a result of this

conversation, the clerk’s office temporarily sealed Exhibit C for twenty-four (24) hours, but

directed that Dr. Gorka file a motion to permanently seal Exhibit C.

       Executed on January 6, 2022 at San Francisco, California.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

                                                               /s/ Michael A. Columbo
                                                               Michael A. Columbo




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